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                                 IN THE UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                                TAMPA DIVISION

  MARTIN GWYNN
          Plaintiff,
                                                                     Case No.: 8:09-cv-02093
  v.

  RABCO LEASING, INC.,                                                DISPOSITIVE MOTION
  BRUCE D. RABON,
  ALTON CATES,
  VIRGINIA HUNTER,
  HURRICANE PASS TRADERS, INC.

          Defendants.

                       PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT

          Plaintiff Martin Gwynn (―Gwynn‖) moves for Partial Summary Judgment as there are no

  genuine material facts in dispute and Gwynn is entitled to judgment as a matter of law against

  Defendants Rabco Leasing Inc. (―Rabco‖), Bruce D. Rabon (―Rabon‖), Virginia Hunter (―Hunter‖), and

  Hurricane Pass Trader's Inc. (―HPT‖).

                                          MEMORANDUM OF LAW

  I.      INTRODUCTION AND BACKGROUND

          Defendant Rabco is a family owned corporation engaged in retail sales of various merchandise

  including sales of same on the Internet. Defendant Rabon is the CEO of Rabco and of HPT. Defendant

  Hunter is the longtime bookkeeper of Rabco and worked in a similar capacity for other related family

  businesses. Plaintiff Gwynn is a 50% shareholder of HPT and a longtime employee of Rabco and its

  other related family businesses. Undisputed Fact (―Facts‖) ¶ 1.




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           At its core, this case is about a long time business relationship gone awry. Recognizing that

  the ―little guy‖ often got the short end of the stick under traditional corporate law, the common law

  doctrine of ―close corporations‖1 evolved to afford minority shareholders some protection. This is a

  story of two close corporations, HPT and Rabco, and the individual shareholders of each. Plaintiff

  brought four of the five counts as a shareholder derivative action on behalf of HPT.2 The State of

  Florida provides Gwynn both statutory3 and common law rights to bring a shareholders‘ derivative

  action. See Timko v. Triasi, 898 So.2d 89 (Fla. 5th DCA 2005). Shareholder derivative suits, as created

  by the common law, provide a means to enable shareholders to police ―faithless directors and

  managers.‖ See Larsen v. Island Developers, Ltd., 769 So.2d 1071, 1072 (Fla. 3d DCA 2000)(quoting

  Cohen v. Beneficial Indus. Loan Corp., 377 U.S. 541, 548 (1949)). In Cohen, the U. S. Supreme Court

  recognized that the shareholder derivative suit, born out of shareholder helplessness and frustration,

  was ―long the chief regulator of corporate management.‖ 337 U.S. 541, 548 (1949). See also Larsen,

  769 So.2d 1071, 1072 (citing Orange Groves Co. v. Hale, 107 Fla. 304, 144 So. 674, 678 (1932)). The

  case at bar is the canonical example, for close corporations, of why this remedy exists. See Tillis v.

  United Parts, Inc., 395 So.2d 618 (Fla. App. 5 Dist., 1981).

           This case, to a large degree, turns on Florida corporate common law doctrine. Because

  corporate law is implicated in all of Plaintiff‘s HPT Counts, a short history of each corporation is

  provided.




  1 The phrase ―close corporation‖ is a legal term of art in Florida corporate common law and is defined infra.
  2 Gwynn‘s Second Amended Complaint (―Complaint‖) contains four counts brought on behalf of HPT: 1) Fraudulent
  Misrepresentation (Count I) (―Fraud Count‖); Trademark Infringement (Count II); Copyright Infringement (Count IV); and 4)
  Unjust Enrichment (Count V). (Doc. 34). Only Counts I, IV, and V are the subject of this motion (―HPT Counts‖).
  3 See § 607.07401, Fla. Stat, (2009).




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  Short History of HPT

          In 1998, Rabon and Gwynn, while still employees of Shorts, Inc. (aka ―William Shorts

  Clothiers‖ or ―WSC‖), and with the approval of WSC, entered into a partnership to create a ―line‖ of

  fishing motif t-shirts with the intent of selling same to WSC and others. Facts ¶¶ 2-5. In that same year

  the partners jointly recruited commercial artist Kathy Zimmerman (―Zimmerman‖) and established the

  Hurricane Pass Traders general partnership (―HPTGP‖). Id. HPTGP sold merchandise to WSC and

  others, accounted for in a separate WSC bank account. Id. None of the partners ever received

  remuneration of any kind from HPTGP; instead all profits were reinvested back into the partnership.

          In 1999, during the ―dot com‖ frenzy, Gwynn proposed to Rabon (at the time President of WSC

  and still partner in HPTGP) that WSC/HPTGP launch a store online. Facts ¶ 6. The online retail store

  Gwynn conceived of and launched went on to generate millions. Facts ¶ 23. In that same year, Gwynn,

  as an employee of WSC, proposed that he be paid a ten percent (10%) commission on all online

  revenue, and Rabon agreed. Facts ¶ 8. At no time during his employment tenure with WSC, and later

  with Rabco, did Gwynn ever earn a salary of more than $26,000 plus the 10% commission. Facts ¶ 9.

  Gwynn infused his own seed capital into HPTGP in order to launch the online store. Facts ¶ 10.

          Zimmerman, in 2000, after creating original artwork on behalf of HPTGP, apparently became

  unhappy with the lack of direct compensation, and sought the assistance of counsel in order to ―cash

  out‖ her share of the partnership. Facts ¶ 14. Gwynn wrote a personal check to Zimmerman for $6,300

  as part of a negotiated buyout and was subsequently repaid by HPTGP with interest. Id.

          In 2002, HPTGP was incorporated as Hurricane Pass Traders, Inc. (―HPT‖) with Gwynn and

  Rabon each owning 50% of the shares. Facts ¶ 18. After HPT‘s incorporation Gwynn continued to

  evolve the online store. One of Gwynn‘s core innovations to the online store was the ―feeder site




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  concept‖ (―FSC‖). Facts ¶ 15.; see also Exhibit W, Gwynn‘s feeder site concept. The essence of the

  FSC was to create a constantly ―morphing‖ set of websites that would attract search engine traffic and

  feed said traffic to a centralized website located at www.hurricanepasstraders.com (―Website‖) where

  consumers would complete the purchase. Id. It was the FSC that consistently provided the Internet

  traffic that allowed the online store to thrive. Facts ¶ 16.

  Short History of Rabco

          For the purposes of this case, Rabco‘s history starts with the purchase agreement it entered

  into with WSC (―Agreement‖) around 2002. Facts ¶ 21. WSC sold its assets and liabilities to Rabco. Id.

  Bruce Rabon and his wife Kathy Rabon are the sole shareholders of Rabco. Facts ¶ 22. Kathy Rabon

  is Short‘s daughter. There is scant evidence in the record detailing the specifics of the Agreement,

  except for: 1) a document memorializing a Rabco board of directors meeting pertaining to the

  Agreement where no IP is referenced; (See Exhibit U, Rabco minutes) and 2) a purported

  ―reconfirmation‖ of the Agreement executed by Rabon and Hunter nearly ten years after the fact,

  purporting that the IP was transferred as part of the purchase. See Exhibit V, ―re-confirmation‖ of

  WSC/Rabco purchase agreement.

  Gwynn‘s Business Relationship with WSC and Rabco

          In 1996, while employed at WSC, Gwynn launched a t-shirt business within a Max Slacks store

  that he operated for WSC and was paid 90% of sales as commission; and 2) in 1995 Gwynn supplied

  several WSC stores with a point-of-sale system (i.e. software and hardware) and was compensated

  $171 per month per store as a 1099 employee. See Aff. Gwynn ¶¶ 2-3.




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              In 2002, after the execution of the Agreement between WSC and Rabco, Gwynn was hired by

  Rabco as retail operations manager, while maintaining his 50% interest in HPT.4 At no time in his

  employment with WSC or Rabco did Gwynn ever have a technical title. See Depo. Virginia Hunter

  73:13-73:21 (August 16, 2010). Further, neither WSC nor Rabco ever paid for any technical training

  wherein Gwynn acquired his knowledge of hardware, software, or the Internet. See Depo. Virginia

  Hunter 124:20-125:23. Rather, Gwynn, like many Internet entrepreneurs, acquired his expertise

  through long hours of uncompensated ―sweat equity‖ which he brought to bear as part of his

  contribution to HPTGP, and later to HPT.

              In June 2009, the relationship between Gwynn and Rabon became acrimonious, both

  professionally and personally. On July 21, 2009, Gwynn was terminated as a Rabco employee.

  Thereafter, Rabon consistently refused to discuss with Gwynn how to resolve Gwynn‘s 50% ownership

  in HPT. See Aff. Gwynn ¶ 15; see also Exhibit H. Moreover, Rabon used his influence with the

  Clearwater Police Department (―CPD‖) to wrongfully file a felony criminal complaint against Gwynn

  Facts ¶ 28. CPD eventually dropped its investigation because Rabon failed to reveal material facts

  regarding the relationships between Rabco, HPT and Gwynn.

              Gwynn created the IP that generated millions of dollars of online revenue on his own time,

  using his own resources and under his own direction, as a partner of HPTGP or as a 50% shareholder

  of HPT. See Exhibit S, revenue generated by online store. 5 Therefore, Rabco‘s confiscation of this IP

  has no basis in fact or law.

  II.         Statement of Undisputed Facts

         1. Gwynn has worked with, and for, Rabon for over sixteen years.

  4   Gwynn business relationships with Rabco/Rabon were complex and multi-faceted. See Exhibit A.
  5   All exhibits are attached hereto and incorporated herein by reference.




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      2. In early 1998, Rabon and Gwynn, while still employees of WSC, decided to create their own

  line of fishing motif t-shirts. See Depo. Hunter 24:13-25:24 (August 16, 2010); see also Depo. Gwynn

  45:19-46:19 (August 24, 2010).

      3. In mid 1998, Rabon and Gwynn jointly recruited commercial artist Kathy Zimmerman

  (―Zimmerman‖) and formed the Hurricane Pass Traders general partnership (―HPTGP‖). Id.; see also

  Depo. Rabon 114:18-119:19 (August 18, 2010); Depo. Gwynn 42:20-47:4.

      4. HPTGP sold t-shirts to WSC and others via arms length transactions. See Depo. Gwynn

  66:20-68:20, 84:12-89:02; see also Depo. Hunter 27:8-27-13, 53:25-54:2.

      5. Revenues from HPTGP sales were deposited into a WSC/HPTGP checking account and funds

  were reinvested into HPTGP‘s business. Id.; see also Depo. Rabon 120:6-120:16; Depo. Hunter 53:25-

  54:2.

      6. In January 1999, Gwynn talks to Rabon (now President of WSC) regarding doing business on

  the Internet. See Aff. Gwynn ¶ 5 (November 4, 2010).

      7. In March 1999, William Short began closing down all of his retail operations. Rabon agrees

  with Gwynn that doing business on the Internet is worth pursuing. See Aff. Gwynn ¶ 6.

      8. In or around March 1999, Gwynn proposes to Rabon that he be paid a ten percent (10%)

  commission on all WSC Internet sales and Rabon accepts. See Depo. Hunter 76:6-77:14; see also

  Depo. Gwynn 195:21-196:24; Aff. Gwynn ¶ 7.

      9. At no time prior to March 1999, or subsequent to this timeframe, when WSC becomes Rabco,

  did Gwynn ever receive a base salary from WSC or Rabco in excess of twenty-six thousand dollars

  ($26,000.00) per year. See Depo. Hunter 76:1-77:1; see also Aff. Gwynn ¶ 8.




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      10. In or around April-May 1999, Gwynn, out of his own pocket, purchases assets totaling over

  $3,000 to establish WSC/HPTGP‘s Internet presence. See Aff. Gwynn ¶; see also Depo. Gwynn

  161:13-161:21.

      11. On July 16, 2001, Rabon registers the domain name ―http://www.hurricanepasstraders.com‖ to

  WSC. See Depo. Gwynn 159:25-161:4.

      12. In or around July 2001, Rabon personally registers, as trademarks of WSC, HPTGP marks

  created by Zimmerman. See Depo. Gwynn 33:22-33:24.

      13. Zimmerman, during the timeframe spanning from 1998 to June 13, 2000, produced original

  artwork to be converted to heat transfers for HPTGP‘s t-shirt line of products. The record of these

  assets ―disappeared‖ from HPTGP‘s books. See Depo. Gwynn 57:13-58:13.

      14. On June 13, 2000, HPTGP negotiates to buy out Zimmerman‘s share of HPTGP, leaving

  Gwynn and Rabon each 50% owners of HPTGP. See Depo. Hunter 76:1-77:1; see also Depo. Rabon

  125:25-126:4; Depo. Gwynn 96:25-97:10.

      15. In mid 2000, Gwynn instantiates the ―feeder site‖ concept which provides the foundation for all

  subsequent search engine optimization (―SEO‖) work. This concept used additional vendor specific

  domain names and ―landing pages‖ in order to feed a centralized website. See Depo. Rabon 153:2-

  153:15; see also Depo. Gwynn 57:13-58:13; Aff. Gwynn ¶ 11.

      16. From mid 2002 through July 21, 2009, over 60 feeder sites are created, maintained, and

  optimized by Gwynn for existing search engines. See Depo. Gwynn 57:13-58:13.

      17. On March 25, 2002, ―http://www.hurricanepasstraders.com‖ appears with a Hurricane Pass

  Traders masthead (i.e. HPTGP‘s trademark). This domain name is used as the centralized website




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  from this date until Rabco filed its bankruptcy petition on April 16, 2010. See Depo. Gwynn 193:12-

  195:6.

      18. On July 3, 2002, HPTGP is incorporated as Hurricane Pass Traders, Inc. (―HPT‖), a Florida

  corporation, with Gwynn and Rabon as 50% shareholders and board members. See Depo. Gwynn

  99:6-99:13; see also Exhibit B pp. 5-8.

      19. On or about October 18, 2002, HPT‘s bylaws were adopted by HPT‘s board and the following

  HPT officers were named: a) Rabon is named President and Secretary; and b) Gwynn is named Vice-

  President and Treasurer. See Depo. Gwynn 99:14-100:6.

      20. Gwynn never received or reviewed HPT‘s annual financial statements, or HPT financial

  statements of any other kind. See Exhibit X; see also Aff. Gwynn ¶ 10.

      21. Rabco purchased WSC‘s assets and liabilities circa 2002. See Depo. Hunter 38:15-38:25; see

  also Depo. Rabon 233:19-234:21.

      22. Bruce Rabon and Kathy were the sole shareholders of Rabco. See Depo. Rabon 14:2-15:4.

      23. From 2002 through July 2009 the online store generated millions of dollars. See Depo. Rabon

  145:5-145:10; see also Exhibit S.

      24. During the period from 2002 to 2009 Rabco required that Gwynn, as a Rabco employee, share

  in advertising costs related to the online store. See Depo. Rabon 75:10-75:18; see also Depo. Hunter

  75:15-78:16; Aff. Martin F. Gwynn ¶ 12.

      25. Rabco sold HPT t-shirts, on average, for $20.00. See Aff. Gwynn ¶ 13.

      26. On or about June 2009, the relationship between Gwynn and Rabon became acrimonious,

  both professionally and personally. See Aff. Gwynn ¶ 14.

      27. On July 23, 2009, Gwynn signed a settlement agreement with Rabco.




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         28. On August 31, 2009, Rabco/Rabon filed a criminal complaint against Gwynn alleging, inter alia,

  theft and embezzlement of trade secrets. After an investigation, Gwynn was never formally charged,

  and the Florida State Attorney‘s Office declined to pursue Rabco/Rabon‘s complaint. See Depo. Rabon

  205:25-208:28; see also Aff. Gwynn ¶ 16; Exhibit F.

         29. The Marks in Exhibit P appeared on the Website located at www.hurricanepasstraders.com for

  approximately 10 years. See Aff. Gwynn ¶ 17.

         30. Gwynn created the Marks in 2009 and 1999 respectively. Id.

         31. A consumer purchasing goods on the Website had no idea it was Rabco that was collecting

  the payment. See Depo. Rabon 104:15-105:9.

         32. At all relevant times Gwynn authored the Work on the Website and on the feeder sites. See

  Depo. Gwynn 219:25-220:18.

         33. On April 16, 2010, Rabco filed a voluntary Chapter 7 Bankruptcy Petition (―Petition‖) in the U.S.

  Bankruptcy Court for the Middle District of Florida, Tampa Division.

         34. Rabco made statements under oath in its Petition which were inconsistent with statements

  made in pleadings filed in this action.

         35. On July 22, 2010, in its Chapter 7 Bankruptcy, Rabco filed an Amended Schedule B-Personal

  Property.

  III.       ARGUMENT AND AUTHORITIES

             A.      Summary Judgment Standard

             Summary judgment is appropriate where there is no genuine issue of material fact and the

  moving party is entitled to judgment as a matter of law. See FED. R. CIV P. 56(c); see also Celotex

  Corp. v. Catrett, 477 U.S. 317, 323 (1986). An issue is ―genuine‖ only if there is a sufficient evidentiary




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   basis on which a reasonable fact finder could find for the nonmoving party, and a dispute is ―material‖

   only if it could affect the outcome of the suit under governing law. See Anderson v. Liberty Lobby, Inc.,

   477 U.S. 242, 248-49 (1986).

           Once the moving party meets its initial burden of identifying for the Court materials that it

   believes demonstrate the absence of a genuine issue of material fact, the nonmoving party may not

   rely on mere allegations in the pleadings in order to preclude summary judgment. See T.W. Elec. Serv.,

   Inc. v. Pacific Elec. Contractors Ass’n, 809 F.2d 626, 630 (9th Cir. 1987). Instead the nonmoving party

   must set forth, by affidavit or as otherwise provided in Rule 56, specific facts showing that there is a

   genuine issue for trial. See id. ―Where the record taken as a whole could not lead a rational trier of fact

   to find for the nonmoving party, there is no ‗genuine issue for trial.‘‖ See Matsushita Elec. Indus. Co.

   Ltd v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

           B.       Summary Judgment On All HPT Counts Is Predicated On Controlling Authority
                    Governing Close Corporations.

           Although the subject matter of each of Gwynn‘s HPT Counts differs, the resolution of each in

   favor of Gwynn is predicated on the controlling precedent that underpins close corporations. Close

   corporations are generally defined as having the following attributes: ―(1) a small amount of

   stockholders; (2) no ready market for the corporate stock; and (3) substantial majority stockholder

   participation in the management, direction, and operations of the corporation.‖ See generally Donahue

   v. Rodd Electrotype Co. of New England, Inc., 367 Mass. 578, 511-512 (1975) (hereafter ―Donahue‖);

   see also Tillis v. United Parts, Inc., 395 So.2d 618, 619 (Fla. App. 5 Dist., 1981) (hereafter ―Tillis‖).

           Courts have long recognized the resemblance of close corporations to partnerships. In Helms

   v. Duckworth, former Supreme Court Justice Burger emphasized the relationship of a two-man close

   corporation to a partnership:




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           In an intimate business venture such as this, stockholders of a close corporation occupy a
           position similar to that of joint adventurers and partners. While courts have sometimes
           declared stockholders ‗do not bear toward each other that same relation of trust and
           confidence which prevails in partnerships,‘ this view ignores the practical realities of the
           organization and functioning of a small 'two-man' corporation organized to carry on a small
           business enterprise in which the stockholders, directors, and managers are the same persons.
           (footnotes omitted).

   101 U.S.App.D.C. 390, 249 F.2d 482, 486 (1957). Indeed, a fundamental tenet of close corporations is

   ―that stockholders in the close corporation owe one another substantially the same fiduciary duty in the

   operation of the enterprise that partners owe to one another.‖ See Donahue at 115; see also Tillis at

   619 (―Corporate officers, controlling the corporation through ownership of a majority of the stock, have

   a fiduciary relation to minority stockholders.‖).

           Courts often rely on Judge Cardoza‘s formulation of the duty owed to one partner by another.

   See Donahue at 116. In Meinhard v. Salmon, Judge Cardoza succinctly stated the essence of this duty

   as follows:

           Joint adventurers, like copartners, owe to one another, while the enterprise continues, the duty
           of the finest loyalty. Many forms of conduct permissible in a workaday world for those acting at
           arm's length, are forbidden to those bound by fiduciary ties. . . . Not honesty alone, but the
           punctilio of an honor the most sensitive, is then the standard of behavior. [emphasis
           added]

   29 N.Y. 458, 164 N.E. 545, 546 (1928) (hereafter ―Meinhard‖).

           For the reasons discussed herein, and despite the equal distribution of shares, Rabon is the

   economically dominant shareholder in HPT and has consistently breached the fiduciary duty he owed

   to HPT, using his dominant economic position (as CEO of both HPT and Rabco) to ―freeze out‖ HPT, to

   the material detriment of HPT. See generally Hill v. Brady (Fla.App. 5 Dist. 1999) (fiduciary duty found

   where one corporation ―looted‖ another). It is the duty owed that is controlling and not the exact

   configuration of the entity or entities involved.




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               Rabon used his position in both corporations to ensure that all the economic value was

   captured in Rabco, a corporation wholly owned by Rabon and his wife. Rabon‘s repeated breaches of

   his fiduciary duty to HPT (and Gwynn) necessitated this shareholder derivative action. Rabon treated

   Rabco as his alter ego, and by so doing he ensured that the economic value of both corporations would

   inure to him alone, contrary to law. In addition, Rabon treated Gwynn more like a partner than an

   employee. For example, he required Gwynn to bear one third of advertising costs related to online

   sales. Facts ¶ 24; see also Exhibit G. Under Florida law, only partners are required to share equally in

   losses and profits.6 The Eleventh Circuit has made it clear that it rejects the ―exaltation of form over

   substance that resides in reliance on a label‖ to determine whether an individual is an employee or a

   partner. See generally Fountain v. Metcalf, Zima & Co., P.A., 925 F.2d 1398, 1400 (C.A.11 (Ga.),

   1991). As the Court in Metcalf noted, ―the evidentiary value of a label is extremely limited, the economic

   reality of the role played being a more probative indication.‖ Id at 1401.

               Two essential predicates support this motion: 1) HPT unequivocally owns all the intellectual

   property in dispute; and 2) Defendants‘ conduct wrongfully concentrated all the economic value in

   Rabco, thereby entirely laying to waste all the economic value in HPT.

               C.        All of the Evidence Supports Plaintiff’s Claims as a Matter of Law.

                         1.          Fraudulent Misrepresentation (Count 1)

               The essential elements of common-law fraud are: (1) a false statement of fact; (2) known by

   the person making the statement to be false at the time it was made; (3) made for the purpose of

   inducing another to act in reliance thereon; (4) action by the other person in reliance on the correctness

   of the statement; and (5) resulting damage to the other person. See Ziemba v. Cascade Int’l, Inc., 256


   6   See Fla. Stat. 620.8401(2).




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   F.3d 1194, 1202 (11th Cir. 2001); see also Mettler, Inc. v. Ellen Tracy, Inc., 648 So.2d 253 (Fla. 2d

   DCA 1994). [Note: The remainder of page 13, and pages 14-15, are redacted and filed under seal.]

           Defendants repeatedly made false statements on HPT tax returns that directly inured to the

   benefit of Rabco; for example, Rabco‘s payables to HPT do not match HPT receivables from Rabco

   (i.e. on HPT tax forms) for over five years. See Exhibit R, HPT Tax forms Schedule L 2004-2008, and

   compare with Exhibit T, Rabco payables to HPT (yellow highlights). Further, HPT receivables from

   Rabco are not being accumulated year over year as Rabco‘s payables dictate they should. Id. These

   material discrepancies were only the most obvious manifestations of Defendants‘ pattern of fraud.

   Complaint ¶ 62. Gwynn‘s Complaint also contained the analysis of two accountants that both detailed

   ―missing‖ HPT inventory. See Exhibits B and C. The identified missing inventory has yet to be

   accounted for and had the potential of increasing Rabco‘s revenue by approximately $85,000. See

   Exhibit E, missing HPT inventory. An example is illustrative: HPT‘s 2008 corporate tax return lists an

   ending inventory at cost of $12,703. See Exhibit I p.9, HPT‘s 2008 tax return, Schedule L. The

   estimated average cost of a finished t-shirt is $3.00. See Exhibit B p. 3. Dividing the ending inventory

   by the average cost indicates that at the start of 2009 HPT should have had approximately 4,234 t-

   shirts on hand. However, HPT has no records of this inventory being sold, and HPT produced no

   records showing that the inventory had been accounted for and was on hand. Id. Defendant Hunter

   testified that it was routine practice for Rabco employees to ―grab‖ HPT inventory and sell it. See Depo.

   Virginia Hunter 90:24-91:3. The only record of such sales that would trigger a Rabco payable to HPT

   would come from Rabco‘s Celerant point-of-sale (―POS‖) system. See Depo. Virginia Hunter 91:22-

   93:10. However Rabco has consistently argued that information contained within the POS was not




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   relevant to Gwynn‘s Fraud Count and has not produced any documents from it.7 HPT sold t-shirts to

   Rabco at an average price of $8.50, which means HPT is ―short‖ approximately $36,000. See Exhibit B

   p. 3. Moreover, Rabco sold the HPT t-shirts at retail for an average cost of $20.00 which translates into

   approximately $85,000 of pure profit to Rabco, given that it never reimbursed HPT for this inventory. Id;

   see also Exhibit E.

            Defendants Engaged in a Pattern of Fraud

            Defendants‘ pattern of fraud provides compelling evidence that its ―mistakes‖ with respect to

   HPT were not merely inadvertent, but rather performed in reckless disregard of corporate

   responsibilities.

                          a. Defendants inflated Rabco’s inventory and profits to deceive creditors

            Defendants, for a period of several years, added the cost of freight charges to inventory and

   thereby wrongfully increased inventory and profits in a manner that would render its financial

   statements more attractive to lenders. See Exhibit E, Rabco added freight to inventory. Inventory

   increased by $193,073 over five years and was subsequently adjusted prior to filing Rabco‘s

   bankruptcy petition on April 16, 2010. Id at p. 10.

                          b. Defendants comingled Rabco funds and personal funds

   Defendants used Rabco funds to pay for personal expenses: 1) payment of Casey Rabon‘s salary

   while attending college; 2) payment of Casey Rabon‘s cell phone invoices; 3) payment of Chad

   Rabon‘s insurance while not a Rabco employee; 4) payment of yacht club fees for Rabon and Short;

   and 5) payment of Kathy Rabon‘s credit card charges. See Exhibit D, Rabco payment of Rabon



   7Gwynn believes there is additional evidence of fraud in Rabco‘s POS system, however, the POS system is not accessible
   due to, inter alia, unpaid license/support fees—a hearing is scheduled on November 8, 2011 regarding Gwynn‘s motion to
   compel. See Doc. 107.




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   personal expenses.8 Over the period where detail was available these charges totaled $46,436. Id. If

   you add to this other fees recklessly distributed to Rabco insiders the total is close to $308,358. See

   Exhibit D, Rabco comingled personal and corporate expenses.

                          c. Defendants made material misrepresentations in Rabco’s bankruptcy
                             petition and wrongfully appropriated estate assets for personal gain

            Defendants made material misrepresentations in connection with Rabco‘s Chapter 7

   bankruptcy petition. See generally Exhibit Q, letter to Chapter 7 Trustee. Further, Rabon has admitted

   to allowing domain names under his control, lawfully the property of the bankruptcy estate, to ―expire‖

   and then purchasing the domain names for his own personal use. Id.

            All Elements of Fraud Are Satisfied

            Defendants have not provided any plausible explanation for how corresponding payables and

   receivables from two closely related corporations, whose books were maintained by the same

   bookkeeper (Hunter) and CPA (Cates), could deviate year in and year out. See Exhibits R and T.

   Further, Defendants offer no plausible explanation as to the ―missing inventory‖ and the corresponding

   cash and/or receivables due HPT. Defendants‘ pattern of fraud demonstrates a willingness to

   repeatedly make false statements in corporate financial/tax records, to the detriment of HPT.

            Defendants knew that HPT would act on these false financial/tax statements because at all

   relevant times they were in full control of the respective financial systems and in control of the reporting

   requirement to federal and state authorities. See Exhibit X. HPT did in fact act on these false

   statements and was damaged as a result.




   8The tracking of personal expenses only goes back to 2006 because the backup of the QB database produced by
   Defendants contains only consolidated figures prior to this time.




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           There are no material facts in dispute and Gwynn is entitled to summary judgment and

   damages on his Fraud Count as a matter of law.

                    3.       Copyright Infringement (Count 4).

           A plaintiff alleging copyright infringement must show that it owns a valid copyright and that a

   defendant copied the protectable elements of the copyrighted work. See Corwin v. Walt Disney World

   Co., 475 F.3d 1239, 1253 (11th Cir. 2007).

           HPT‘s copyright registration for the Website (the ―Work‖ or ―Work‖) correctly states that the

   author is Hurricane Pass Traders, Inc. (i.e. ―HPT‖). See Exhibit O. The U.S. Copyright Office‘s online

   registration process requires a designation of ―Work made for hire‖ whenever the author is an entity. A

   business entity, such as a corporation, is a legal fiction and cannot ―author‖ anything.

           It is undisputed that Gwynn was the author of HPT‘s copyrighted content, as contained in its

   Website. Contrary to Defendants‘ self-serving assertions, Gwynn did not create the Work as an

   employee of WSC or Rabco. See Answer Doc. 65, affirmative defense 15. Rather, Gwynn, created the

   Work of authorship first as general partner in HPTGP and subsequently as a 50% shareholder and

   officer of HPT. See Depo. Gwynn 219:25-220:18. In short, Gwynn authored the work as part of his

   ―sweat equity‖ contribution to HPTGP (i.e. from 1999 to 2002) and later as part of his ―sweat equity‖

   contribution to HPT (i.e. from 2002 until 2009). Id.

           It is not uncommon for partners or shareholders to contribute ―sweat equity‖ to business

   entities—in fact, for startups this is likely the rule rather than the exception. As the U.S. Supreme Court

   made clear in Community for Creative v. Reid, a court should ―apply general common law of agency

   principles to ascertain whether the work was prepared by an employee or an independent contractor‖




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   before making the determination as to whether the Work was made ―for hire‖ under §101(1) of the

   copyright statute. 490 U.S. 730 (1989) (hereafter ―Reid‖); see also Title 17 U.S.C. §101(1).9

             The critical question here is whether Gwynn is an agent of HPT for the purposes of making the

   correct determination under the statute. As is true in most close corporations, Gwynn is both a

   shareholder and an officer of HPT. See Exhibit B, pp. 5-8. It is axiomatic that officers are agents of their

   respective corporations. In Reid, the Court indicated that a non-exhaustive list of factors, based on the

   common law of agency, no one of which is dispositive, should be used to make the ―employee‖

   determination. See Reid at 751-752. These factors include: 1) the right of a party to determine the

   manner in which a work is created; 2) the skills required; 3) the source of the instrumentalities; 4) the

   duration of the work; and 5) the relationship between the parties. Id.

             The factors are applicable to HPT as follows: 1) as a corporation HPT is well within its rights to

   determine how its work should be accomplished; 2) it also within its rights to name officers with certain

   skill sets (i.e. Gwynn and Rabon); 3) the instrumentalities used were investments made first in HPTGP,

   and later in HPT, by their respective shareholders; 4) Gwynn made ―sweat equity‖ contributions to

   HPTGP and HPT for over ten years; and 5) Gwynn had a longtime shareholder interest and was highly

   incentivized to make said contributions to HPTGP and HPT. See Depo. Gwynn 219:25-220:18.

             There does not exists a contract, license agreement, HPT board of directors meeting, or any

   other evidence showing that HPT conveyed any of its exclusive rights under the copyright statute to

   Rabco. Nevertheless in 2002, after execution of its Agreement with WSC, Rabco repeatedly copied,

   published and distributed the Work in violation of HPT‘s copyright. Rabon, as the dominant

   shareholder, owed a fiduciary duty to HPT (and Gwynn) of a ―punctilio of an honor the most sensitive.‖

   9 Title 17 U.S.C. § 101 definition of ―Work made for hire‖ contains two prongs, only prong (1) is applicable because the Work
   in question was not a ―specially ordered or commissioned‖ work.




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   See Meinhard at 546. Rabon breached this duty, ensuring that all of HPT‘s economic value inured to

   Rabco. Further, when Gwynn attempted to assert his rights as an HPT shareholder, Rabon used his

   position power to attempt to destroy Gwynn, both personally and professionally, by wrongfully filing a

   criminal complaint against Gwynn and by denying Gwynn the value contained in his 50% ownership

   interest in HPT. Facts ¶ 28.

           Rabon is personally liable for the copyright infringement as is Rabco. Courts have stated that,

   under the Copyright Act, an individual who is the dominant influence in a corporation, and through his

   position can control the acts of that corporation, may be held jointly and severally liable with the

   corporate entity for copyright infringement. See Southern Bell Telephone and Telegraph Co. v.

   Associated Telephone Directory Publishers, 756 F.2d 801, 811 (11th Cir.1985). In this case, Rabon

   was in fact the dominant influence in Rabco and controlled its acts such that he may be held jointly and

   severally liable with Rabco for the infringement.

           There are no material facts in dispute and Gwynn is entitled to summary judgment and

   damages on its copyright count as a matter of law.

                    4.       Unjust Enrichment (Count 5).

           To prevail on a claim of unjust enrichment, a plaintiff must show: (1) it conferred a benefit on

   the defendant of which defendant is aware; (2) defendant voluntarily accepted and retained the benefit

   conferred; and (3) the circumstances are such that it would be inequitable for the defendant to retain

   the benefit without paying for it. See Nova Information Systems, Inc. v. Greenwich Ins. Co., 365 F.3d

   996, 1006-1007 (11th Cir. 2004); see also Shibata v. Lim, 133 F.Supp.2d 1311 (M.D. Fla., 2000).

   Unjust enrichment is a cause of action founded on the equitable principle that a person should not be




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   permitted to unjustly to enrich themselves at the expense of another. See Lowry v. Lowry, 463 So.2d

   540, 541 (Fla.2d D.C.A.1985) (citing 66 Am.Jur.2d, Restitution and Implied Contracts § 3 (1973)).

           Rabco‘s claims to the ownership of the IP in dispute are pure fiction, based only on Rabon‘s

   fiat and decree, consistent with his treatment of Rabco as his alter ego, but having no basis in fact or

   law. All indicia of ownership point to HPT as the rightful owner of said IP, for example: 1) the business

   model for retail sales on the Internet, as later adopted and misappropriated by Rabco, had its genesis

   in HPTGP—both the idea and the original expression was part and parcel of Gwynn‘s contribution to

   the partnership; 2) all traffic from the ―feeder site concept‖ created by Gwynn went to a Website with

   the address bearing HPT‘s corporate name (i.e. www.hurricanepasstraders.com) and with ―Hurricane

   Pass Traders‖ branding on every page; and 3) all online customer acquisition occurred on the same

   centralized website. Facts ¶¶ 15, 31-32; see also Aff. Gwynn ¶¶ 11, 16.

           Rabon testified that he agreed that Gwynn should be a 50% shareholder in HPT because

   Gwynn was a 50% partner in HPTGP and because Gwynn had certain computer expertise. See Depo.

   Rabon 130:3-131:4. Rabon, in his testimony, did not identify any computer expertise on his part that

   warranted a 50% share in HPT. Id. In fact, despite being a CEO of a small company that had generated

   millions of dollars of revenue on the Internet, Rabon lacked a basic business understanding of Internet

   fundamentals. See Depo. Rabon 148:2-150:18.

           There is no evidence in the record that anyone but Gwynn provided the Internet expertise that

   fueled the online business. Moreover, it was not solely Gwynn‘s technical expertise that allowed the

   online store to thrive (i.e. where other ―dot com‖ startups failed) but rather, it was the combination of his

   retail marketing expertise and his technical acumen that proved to be the winning combination. In short,




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   Gwynn poured his ―sweat equity‖ into HPTGP and HPT for over a decade and has yet to see a single

   dollar in distribution from either entity.

            Rabon used his dominant position in a manner that ensured Rabco would reap the entire

   benefit of HPT‘s intellectual capital; by so doing he breached his fiduciary duty to HPT, and to Gwynn.

   Rabco and Rabon knowingly accepted the benefit conferred. To allow HPT‘s intellectual property to be

   confiscated, without compensation, would be manifestly unjust under these circumstances.

            Wherefore Gwynn, on behalf of HPT, respectfully asks that this Court right the wrong that has

   been perpetrated, and grant HPT damages in compensation therewith.

            D.       Rabco’s Counterclaims Must Be Dismissed

                     1.       The Doctrine of Judicial Estoppel Bars Rabco’s Counterclaims

            Rabco‘s Counterclaims must be dismissed as they are barred by judicial estoppel. The

   purpose of the doctrine of judicial estoppel is ―to protect the integrity of the judicial process by

   prohibiting parties from changing positions according to the exigencies of the moment.‖ See Robinson

   v. Tyson Foods, Inc., 595 F.3d 1269, 1273 (11th Cir. 2010) (citations omitted). The essence of this

   doctrine is to ―prevent a party from asserting a claim in a legal proceeding that is inconsistent with a

   claim taken by the party in a previous proceeding,‖ and has often been applied in this Circuit with

   respect to bankruptcy proceedings. Id; Burnes v. Pemco Aeroplex, Inc., 291 F.3d 1282, 1285 (11th Cir.

   2002).

            In Burnes, the Court described the two prong judicial estoppel test: 1) ―it must be shown that

   the allegedly inconsistent positions were made under oath in a prior proceeding‖ and 2) ―such

   inconsistencies must be shown to have been calculated to make a mockery of the judicial system.‖

   Burnes, at 1285. The Burnes Court also established that the debtor is not provided the luxury of




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   remedying its failure to comply with its affirmative duty. Burnes, at 1286-1288. The rationale

   behind this principle is that allowing an ex post facto remedy would imply that ―a debtor should consider

   disclosing potential assets only if he is caught concealing them‖—a moral hazard that would undermine

   the very foundation of the judicial system. See generally Id.

            In this case, Rabco has made inconsistent statements under oath; namely, in the case at bar

   and in its Bankruptcy Petition.10 Rabco‘s Bankruptcy Petition, filed on April 16, 2010, contains the

   following declaration signed by Bruce Rabon:

   DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP

   I, the President of Rabco Leasing, Inc. named as debtor in this case, declare under penalty of perjury
   that I have read the foregoing summary and schedules, consisting of 26 sheets, and that they are true
   and correct to the best of my knowledge, information and belief.

            In Schedule B of the Petition, under item 21, Rabco stated that it had no contingent and

   unliquidated claims of any nature, including counterclaims. However, on May 4, 2010, less than

   three weeks after the Bankruptcy Petition was filed, Rabco asserted counterclaims against Gwynn in

   this action. Even before the Bankruptcy Petition was filed Rabco had asserted similar counterclaims

   against Gwynn. See Court Doc. 30 filed on December 18, 2009, four months before the filing of the

   Bankruptcy Petition. Although the December counterclaims were ultimately dismissed as procedurally

   defective, the allegations made therein are substantially similar to allegations made by Rabco in its

   May 4, 2010 Counterclaims. Compare Court Doc. 30, paragraphs 32-36; 37 and 39; 40-43; to Doc. 65,

   paragraphs 46-50; 51 and 53; 54-57 respectively.

            Rabco has made additional inconsistent statements under oath. For example, although Rabco

   identified no third party claims in its Bankruptcy Petition, it sought to assert third party claims in this


   10See Case No. 8:10-bk-08849-CPM Filed in the U.S. Bankruptcy Court for the Middle District of Florida, Tampa Division on
   April 16, 2010; see also Exhibit J.




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   action. See Court Docs 30 and 70/73. In its Bankruptcy Petition, in response to Schedule B Question

   22, Rabco stated that it owned no intellectual property, including copyrights. Yet in this action,

   Rabco specifically alleges ownership of intellectual property. See Exhibit J at 9 (Bankruptcy Petition);

   Court Doc. 40 at 17 (Rabco‘s motion to dismiss indicating it owns IP); see Court Doc. 65 32-54

   (Rabco‘s Answer and Counterclaims).

             Rabco‘s Bankruptcy Petition also states in answer to Schedule B Question 23, that it owns no

   licenses, franchises, and other general intangibles. However, in its Answer to this action, Rabco

   admits that it is the owner of certain domain names (a form of intangibles).11 See Court Doc. 65,

   Counterclaim at 37. In the Bankruptcy Petition, in answer to Schedule B Question 24, Rabco states

   that it owns no customer lists or other compilations. However, in its Answer, Rabco stated, in part:

   ―[c]ount III is barred in whole because Defendant Rabco had a qualified privilege to protect its own …

   customer lists ….‖ Court Doc. 65 at 13.

             Rabco concealed its counterclaims, third party demands, and intellectual property from the

   Bankruptcy Court and only amended its Bankruptcy Petition to include alleged causes of action and

   intellectual property on July 22, 2010, three months after its original filing, and only after the

   concealments were brought to this Court‘s attention by Plaintiff (See Doc. 76). Although Rabco stated

   in its Response to Gwynn‘s Motion to Dismiss (Doc. 84, page 5) that it planned to ―continue

   coordinating amendments to the bankruptcy petition to … identify specific intellectual property that was

   broadly identified as ‗websites,‘‖ Rabco has made no efforts to amend its Bankruptcy Petition to

   properly identify the ―websites‖ which it values, together with other intellectual property, at a mere

   $1,500, total.

   11 A domain name is an identification label that defines a realm of administrative autonomy, authority, or control in the
   Internet, based on the Domain Name System (DNS).




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           In making inconsistent statements under oath to this Court, and to the Bankruptcy Court,

   Rabco clearly attempted to ―change positions according to the exigencies of the moment.‖ See

   Robinson, supra. The amendment which Rabco made to the Bankruptcy Petition after the concealment

   of assets was brought to this Court‘s attention is of no moment, as allowing such an ex post facto

   remedy to avoid judicial estoppel is not permitted, because it would imply that ―a debtor should

   consider disclosing potential assets only if he is caught concealing them,‖ – which is exactly what

   Rabco has done in this case. See Burnes at 1286-1288.

           There is no question that Rabco made inconsistent statements under oath, therefore, the first

   prong of the judicial estoppel test is met. The second inquiry is whether the concealment or

   inconsistent statements were deliberately made to manipulate the judicial system. ―While an estopped

   party‘s contradiction must be intentional, such intent may be inferred from the record.‖ See Burnes, 291

   F.3d at 1285.

           As discussed supra, it is evident from the record that Rabco intended to assert claims against

   Gwynn, and third parties even before the Bankruptcy Petition was filed. Further, Rabco stated in the

   Bankruptcy Petition that it did not own intellectual property, licenses, etc., but claimed remuneration

   from Gwynn, and others for alleged damages to intellectual property. In light of these facts, and the

   conduct of Rabon/Rabco at all times relevant to these proceedings, Rabco cannot credibly state that its

   concealment of intellectual property and alleged causes of action was inadvertent. One can easily infer

   from the record that Rabco‘s concealment was in fact intentional.

           There is also an ―additional consideration‖ that weighs in favor of applying judicial estoppel to

   bar Rabco‘s counterclaims. See New Hampshire v. Maine, 532 U.S. 742, 751 (2001). Since July

   2010, Rabco‘s Bankruptcy Trustee has been represented by the same attorney that is representing




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   Rabco in this action. See Exhibit K (Order on Application To Employ Special Counsel). In her

   application to employ special counsel, the Trustee specifically stated that she desired to employ

   ―Robert Smeltzer … as special counsel to represent her in connection with an intellectual property

   matter initiated pre-petition, including the counterclaims and third party demands asserted by Rabco

   herein.‖ See Exhibit L. Clearly Rabco, and the Trustee knew that the statements made in the

   Bankruptcy Petition under oath were, and continue to be, inconsistent with the claims made by Rabco

   in this action. Further, despite representation by identical counsel, and ample opportunity to make an

   appearance in this action on behalf of the estate, Rabco‘s Chapter 7 Trustee has made no attempt to

   intervene in this matter, nor has she sought to be substituted as the real party in interest. 12 See In the

   Matter of Shelton, Case No. 07-81534-JAC-7 (Bankr. N.D. Ala. 4/26/2010). Accordingly, for the

   reasons stated herein, there are no genuine issues of material fact and Rabco‘s counterclaims must be

   dismissed inasmuch as Rabco and its Trustee are judicially estopped from pursuing the counterclaims

   against Gwynn.

                         2.        Rabco Has No Standing to Pursue Counterclaims

               Rabco‘s Counterclaims must be dismissed, as it has no standing to pursue those claims. All of

   a debtor‘s assets, both tangible and intangible (i.e. intellectual property), including pre-petition causes

   of action (i.e. counterclaims), vest in the bankruptcy estate upon filing of the Bankruptcy Petition and

   only the trustee in bankruptcy has standing to pursue causes of action belonging to the estate. See

   Parker v. Wendy's Intern., Inc., 365 F.3d 1268 (11th Cir. 2004); Waldron v. Brown, 536 F.3d 1239,

   1242 (11th Cir.2008); § 11 U.S.C. 541(a)(1) and1306. Further, although she has had ample opportunity

   to do so, the estate‘s Trustee has not attempted to intervene in this matter on behalf of the estate, nor


   12   The trustee recently added additional counsel.




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   has she sought to be substituted as the real party in interest. Accordingly, the counterclaims against

   Gwynn must be dismissed, as Rabco has no standing to pursue them.

   IV.     CONCLUSION

           For the foregoing reasons, Gwynn respectfully requests that this Court enter summary

   judgment in its favor, for all HPT Counts: 1) fraudulent misrepresentation; 2) copyright infringement;

   and 3) unjust enrichment. Gwynn also respectfully requests that Defendants‘ counterclaims be

   dismissed.



                                                   Respectfully submitted,


                                                   By: s/ Carlos A. Leyva
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                                                   MARTIN F. GWYNN

                                         CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 5, 2010, I electronically filed the foregoing using the
   CM/ECF system, which will send notification of such filing.

                                                           By: s/ Carlos A. Leyva
                                                                Carlos A. Leyva




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